IN THE UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT
UNITED STATES OF AMERICA
v.
3:23-CR-00026 (KAD)
GLENN OZTEMEL and
EDUARDO INENECCO

MOTION FOR PERMISSION FOR LOCAL COUNSEL TO BE EXCUSED FROM
PARTICIPATION IN COURT PROCEEDINGS

Pursuant to Local Rule 83.1(d)(2), Defendant Glenn Oztemel moves the Court for
permission for his undersigned counsel to be excused from attendance in Court and participation
in other proceedings before the Court in this matter.

The Court previously granted a motion for out-of-state counsel to appear on behalf of Mr.
Oztemel in this matter pro hac vice. See ECF No. 12. Out-of-state counsel, Nelson A. Boxer of
Petrillo Klein & Boxer LLP, will be serving as Mr. Oztemel’s primary counsel in this matter.
Undersigned counsel understands that if this motion is granted, she will not be relieved from any
other obligation of an appearing attorney.

For these reasons, we respectfully move the Court for permission for the undersigned
counsel to be excused from attendance in Court and participation in other proceedings before the
Court in this matter.

Dated: Stamford, Connecticut

March 10, 2023

Respectfully Submitted,

/s/
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